Case 5:21-cr-00023-EKD-JCH Document 63 Filed 11/20/23 Page 1 of 1 Pageid#: 268




                               IN THE UNITED STATES DISTRICT COURT
                                   WESTERN DISTRICT OF VIRGINIA
                                      HARRISONBURG DIVISION

                               CRIMINAL MINUTES - GENERAL MINUTES

 Case No.: 5:21cr23                           Date: 11/20/2023


 Defendant: Richard E. Moore, Bond                               Counsel: Joshua Lowther, Amina Mantheny-
                                                                 Willard, Michael Song (PHV pending); retained


 PRESENT:          JUDGE:                     Elizabeth K. Dillon
                   TIME IN COURT:             10:30a – 12:00p, 12:10 – 12:25; 1h 45m
                   Deputy Clerk:              K. Anglim
                   Court Reporter:            Melissa Custis
                   U. S. Attorney:            William Montague, Matthew Hicks
                   USPO:                      Angela George
                   Case Agent:                Wes Johnson


 PROCEEDINGS:
 Parties present by counsel for a pretrial conference.
 Oral argument on Dft’s Motion to Continue (dkt. 60) and Plf’s Motions in Limine under Rule 404(b) (dkt 53, 59)
 Argument, Objections, Rebuttal as reflected in the record.
 Court denies motion to continue.
 Court takes Motions in Limine under advisement.
 Lafler Frye Inquiry held.
 Trial to be held December 4 – 15, 2023
 Remarks by Court re. conduct of trial and procedure for jury selection.
 Plaintiff moves for conflict inquiry.
 Joshua Lowther makes oral motion to withdraw as counsel.
 Court continues trial for reasons as stated on the record and not for issues addressed in the Motion to Continue (dkt.
 60)
 Court grants oral motion to withdraw as counsel.
 Any necessary motions, briefing, and conflict inquiries to be filed after the Thanksgiving holiday.
 Clerk will be in touch with new trial dates.
